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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:19-cv-00124-WJM-SKC
  Consolidated with Civil Action No. 1:19-cv-00758-WJM-SKC

  OREGON LABORERS EMPLOYERS PENSION TRUST FUND, Individually and On Behalf
  of All Others Similarly Situated,

           Plaintiff,

  v.

  MAXAR TECHNOLOGIES INC.,
  HOWARD L. LANCE, and
  ANIL WIRASEKARA,

           Defendants.

              PLAINTIFF’S MOTION TO STRIKE, AND, IN THE ALTERNATIVE,
                          FOR LEAVE TO FILE A SUR-REPLY




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           Plaintiff Oregon Laborers Employers Pension Trust Fund (“Plaintiff”), respectfully moves to

  strike certain arguments and documents submitted by defendants Maxar Technologies Inc., Howard

  L. Lance, and Anil Wirasekara (“Defendants”) in support of their request for judicial notice. See

  ECF No. 52 (the “RJN”). 1 These new arguments and documents were offered for the first time in

  Defendants’ reply in support of the RJN (ECF No. 58, filed January 24, 2020). Should the Court

  deny Plaintiff’s motion to strike, Plaintiff respectfully requests leave to file a sur-reply. 2

  I.       BACKGROUND

           On December 5, 2019, the day before the deadline to file their motion to dismiss, Defendants

  contacted Plaintiff’s counsel with a list of documents (but not the documents themselves) for which

  Defendants intended to seek judicial notice. The same day, Plaintiff’s counsel responded stating that

  Plaintiff was not taking a position on the list of documents. Plaintiff’s counsel noted that, given the

  lack of meaningful opportunity to review the actual submissions, Plaintiff may object on the basis of

  authentication.

           On December 6, 2019, Defendants filed the Declaration of Kristin N. Murphy in Support of

  Defendants’ Motion to Dismiss the Amended Complaint and their RJN (ECF Nos. 51-1, 52). These

  documents provided a listing of 19 documents Defendants asked this Court to consider in support of



  1
      Pursuant to D.C.COLO.LCivR 7.1, between January 24 and January 27, 2020, counsel for
  Plaintiff and Defendants met and conferred regarding the relief sought herein. On January 27, 2020
  counsel for the parties discussed their positions on the requested relief and Plaintiff’s counsel ended
  the call by noting that Plaintiff would consider Defendants’ positions. On January 29, 2020, after
  considering Defendants’ positions, Plaintiff’s counsel informed Defendants’ counsel that Plaintiff
  would proceed to move this Court for appropriate relief.
  2
      If granted leave, Plaintiff will file a sur-reply not exceeding five pages in length within two days
  of the Court’s order.

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  their Motion to Dismiss the Consolidated Complaint (ECF No. 51), and explained why the Court

  should consider them.

           On December 27, 2019, Plaintiff filed its opposition to the RJN, objecting to the Court’s

  consideration of Defendants’ proposed Exhibits 2 through 17. ECF No. 53. In opposing the RJN,

  Plaintiff argued, inter alia, that the Court should not consider Exhibits 2-11, 13-15 and 20 because it

  need look no further than the Consolidated Complaint for Violations of the Federal Securities Laws

  (ECF No. 44) (the “Complaint”) for identical information. ECF No. 53 at 3-4. Plaintiff further

  argued the Court should not consider Exhibit 12 because Defendants failed to authenticate the

  document and it did not appear to be what Defendants certified it to be. Id. at 5-7.

           On January 24, 2020, Defendants filed their reply brief in further support of their RJN. ECF

  No. 58 (the “Reply”). Defendants conceded their original position was that this Court should

  consider Exhibits 2-11, 13-15 and 20 because it would somehow be convenient. Id. at 4.

  Recognizing the mere “convenience” would likely not carry that day, the Reply raises new legal

  arguments to salvage their RJN. These arguments could have and should have been raised in

  Defendants’ opening brief. Specifically, Defendants now invite the Court to peruse the offered

  documents for the purpose of “provid[ing] a complete record” and “provid[ing] the necessary

  context for the statements at issue.” Id. Because these arguments were first raised in the Reply,

  Plaintiff is effectively foreclosed from responding to them. See Court’s Practice Standards III.K. (no

  sur-reply is allowed without leave of Court on a showing of good cause). For example, Plaintiff has

  not been given the opportunity to address whether Defendants have even tried to explain to the Court

  how the record is incomplete or why any additional context is necessary to decide their motion to

  dismiss.

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           With respect to Exhibit 12, Defendants acknowledge that they submitted the wrong document

  to the Court on December 6, 2019. ECF Nos. 58 at 4, 58-1, 58-2, 58-3, 60. In an effort to correct

  that error, Defendants now offer new documents in their Reply. Id. By doing so, however,

  Defendants have foreclosed Plaintiff from responding to the new information. See Court’s Practice

  Standards III.K. For example, Plaintiff has not been given the opportunity to address whether yet

  another Latham & Watkins LLP partner possesses sufficient knowledge of a non-party document to

  lay a factual predicate for authenticity and, even if he did, whether his sworn declaration provides

  the necessary factual predicate.

  II.      ARGUMENT

           When a moving party makes new arguments or submits new evidence for the first time on

  reply, the Court must either disregard those arguments and evidence or provide the nonmoving party

  with an opportunity to respond. Stransky v. HealthONE of Denver, Inc., No. 11-cv-02888-WJM-

  MJW, 2012 WL 6548108, at *3 (D. Colo. Dec. 14, 2012) (Martinez, J.) (citing EEOC v. Outback

  Steak House of Fla., Inc., 520 F. Supp. 2d 1250, 1260 (D. Colo. 2007)) (granting motion to strike);

  accord Beaird v. Seagate Tech., 145 F.3d 1159, 1192 (10th Cir. 1998). Here, the Court should strike

  or decline to consider Defendants’ new arguments and documents offered for the first time on reply.

           A.         The Court Should Strike Defendants’ New Arguments Regarding
                      Exhibits 2-11, 13-15 and 20

           Defendants’ Reply brief argues that the Court should consider Exhibits 2-11, 13-15 and 20

  because they purportedly “provide a complete record” and “provide the necessary context for the

  statements at issue.” ECF No. 58 at 4. Defendants could have and should have included those

  arguments in their opening RJN brief. They did not. Furthermore, Defendants could have and

  should have explained in the opening brief how any one or all of the documents at issue would
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  provide a complete record and the necessary context for the Court to decide the motion to dismiss.

  They did not. By raising these arguments for the first time in reply, Defendants have precluded

  Plaintiff from a fair and full opportunity to respond. As such, the Court should strike them. Seagate,

  145 F.3d at 1192.

           B.         The Court Should Strike Defendants’ New Evidence Offered to
                      Replace Exhibit 12

           Defendants have acknowledged that their original Exhibit 12 (filed on December 6, 2019) is

  not what they claimed it to be. ECF Nos. 58 at 4, 58-1, 58-2, 58-3, 60. To correct that error,

  Defendants offer new documents for the first time in reply. Id. These documents are the: (a)

  Declaration of Mark Bekheit in Support of Defendants’ Request for Judicial Notice (ECF No. 58-1)

  (the “Bekheit Declaration”); (b) Exhibit 1 of the Behkeit Declaration (ECF No. 58-2) (described by

  Mark Behkeit (“Behkeit”) as “a screen shot of the metadata associated with the Spruce Report”); (c)

  Exhibit 2 of the Bekheit Declaration, ECF No. 58-3 (described by Behkeit as “a true and correct

  copy of the Spruce Report that I received in August 2018”); (d) ECF No. 60 (described by

  Defendants as a “New/Corrected Exhibit 2”); and (e) another copy of the Spruce Point Capital

  Management LLC report submitted to the Court on a thumb drive (a copy of which Plaintiff has not

  yet received).

           Defendants could have and should have submitted this material with their opening brief. But

  they did not. Had Defendants done so, it would have afforded Plaintiff, inter alia, the opportunity to

  address whether another Latham & Watkins LLP partner (i.e., Mr. Bekheit) has sufficient knowledge

  of facts to authenticate the new document, and even if he did, whether the new document is, in fact,

  indisputably authentic. Plaintiff has had no such opportunity. As such, the Court should strike ECF

  Nos. 58-1, 58-2, 58-3, 60. Seagate, 145 F.3d at 1192.
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  III.     CONCLUSION

           For the reasons above, the Court should grant Plaintiff’s motion to strike. In the alterative,

  Plaintiff respectfully requests leave to file a sur-reply at address Defendants’ new arguments and

  documents.

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                                      CERTIFICATE OF SERVICE

           I hereby certify under penalty of perjury that on January 30, 2020, I authorized the electronic

  filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

  hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

  non-CM/ECF participants indicated on the attached Manual Notice List.

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